             Case 2:20-cv-00484-RMP                  ECF No. 10          filed 06/08/21     PageID.30 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT                                                   FILED IN THE
                                                                                                                    U.S. DISTRICT COURT
                                                                                                              EASTERN DISTRICT OF WASHINGTON
                                                                  for the_
                                                     Eastern District of Washington
                                                                                                               Jun 08, 2021
                CHARLES JOSEPH REEVIS ,                                                                            SEAN F. MCAVOY, CLERK


                                                                     )
                             Plaintiff                               )
                                v.                                   )       Civil Action No. 2:20-CV-00484-RMP
             U.S. DEPARTMENT OF JUSTICE ,                            )
                                                                     )


                            Defendant
                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

’ the plaintiff (name)                                                                                         recover from the
defendant (name)                                                                                                  the amount of
                                                                            dollars ($               ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of             % per annum, along with costs.

’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other:
’
              This action is DISMISSED without prejudice for lack of subject matter jurisdiction.




This action was (check one):
’ tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

’ tried by Judge                                                                          without a jury and the above decision
was reached.

✔
’ decided by Judge                ROSANNA MALOUF PETERSON                                     .




Date: June 8, 2021                                                          CLERK OF COURT

                                                                            SEAN F. McAVOY

                                                                            s/ Claudia Canseco
                                                                                          (By) Deputy Clerk

                                                                            Claudia Canseco
